            IN THE UNITED STATES DISTRICT COURT FOR
              THE MIDDLE DISTRICT OF PENNSYLVANIA

HON. GUY RESCHENTHALER,
a member of the U.S. House of
Representatives, HON. DAN MEUSER,
a member of the U.S. House of
Representatives, HON. GLENN “G.T.”
THOMPSON, a member of the U.S.
House of Representatives, HON. LLOYD
SMUCKER, a member of the U.S. House
of Representatives, HON. MIKE KELLY,
a member of the U.S. House of
Representatives, HON. SCOTT PERRY,
a member of the U.S. House of
Representatives, PA FAIR ELECTIONS,
                  Plaintiffs,               Case No. 1:24-cv-1671-CCC
                                           Judge Christopher C. Conner
      v.
AL SCHMIDT, in his official capacity as
Secretary of the Commonwealth
JONATHAN MARKS, in his official
capacity as the Deputy Secretary for
Elections and Commissions for the
Commonwealth of Pennsylvania,

                  Defendants,
      and

DEMOCRATIC NATIONAL
COMMITTEE, PENNSYLVANIA
DEMOCRATIC PARTY,

                  Intervenor-Defendants.

 MEMORANDUM OF THE DEMOCRATIC NATIONAL COMMITTEE
      AND THE PENNSYLVANIA DEMOCRATIC PARTY
       REGARDING THE OCTOBER 18, 2024, HEARING
      The Court’s October 4 order in this case (Dkt. 21) directed the parties to file

prehearing memoranda to “apprise the court whether they anticipate calling any

witnesses or putting on additional evidence beyond the supporting affidavit and

exhibits attached to plaintiffs’ complaint and motion.” Consistent with the Court’s

order yesterday converting the upcoming evidentiary hearing to an oral argument

(Dkt. 40), the Democratic National Committee and the Pennsylvania Democratic

Party do not intend to call any witnesses or put on any evidence.

October 16, 2024                           Respectfully submitted,

                                            /s/ Clifford B. Levine
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Ann E. Himes*                                   Pa. Id. No. 84184
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*Pro hac vice pending
                       CERTIFICATE OF SERVICE

      A true and correct copy of the foregoing was served on all counsel of

record on October 16, 2024, by this Court’s CM/ECF system.


                                          /s/ Clifford B. Levine
                                          CLIFFORD B. LEVINE
